Case 2:10-md-02179-CJB-DPC Document 4457-10 Filed 11/01/11 Page 1 of 2

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL BY THE OIL RIG MDL No. 2179
“DEEPWATER HORIZON” IN THE GULF OF

MEXICO, ON APRIL 20, 2010 SECTION J

IN RE: THE COMPLAINT AND

PETITION OF TRITON ASSET JUDGE BARBIER
LEASING GMBH, ET AL. INA . hott

CAUSE OF EXONERATION FROM MAGISTRATE JUDGE SHUSHAN

OR LIMITATION OF LIABILITY

This Document Relates To:

All cases and No.: 2-10-cvy-2771 and No.
2:10-cv-04536-CJB-SS (United States v. BP
Exploration & Production Inc., et al.)

AFFIDAVIT OF STEPHANY LEGRAND

THE STATE OF TEXAS _ )

)
COUNTY OF HARRIS )

BEFORE ME, the undersigned authority, on this day personally appeared Stephany
LeGrand who being duly sworn deposed on his oath as follows:

1. My name is Stephany LeGrand. I am more than twenty-one years old, I
have never been convicted of a crime involving moral turpitude, and | am
competent to provide this affidavit. All facts in this affidavit are true, correct, and
within my personal knowledge. .

2. I am an attorney at the law firm of Sutherland Asbill & Brennan LLP,
licensed to practice law in the State of Texas and representing Transocean in this
matter.

3. Attached to Transocean’s Motion for Partial Summary Judgment, and
incorporated herein by reference, are appendices including: publicly available
documents and websites; a summary of provisions contained in certain contracts
also attached as appendices; standard form contracts published by industry
organizations; correspondence; protection and indemnity rules; and documents
produced in this litigation, all of which are all true and correct copies of the
information / documents as of the signing of this affidavit and / or the date
indicated in citations to same within the Memorandum in Support of Transocean’s
Motion for Partial Summary Judgment, as applicable.

EXECUTED on this the 24 day of October, 2011.

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FURTHER, AFFIANT SAYETH NOT.

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SWORN AND SUBSCRIBED TO BEFORE ME on this the o of October, 2011.

cert bee. IL. S20

Notary Public in and for the
STATE OF TEXAS

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Sh —_ GRETCHEN M. SEIDL
MY COMMISSION EXPIRES

Spe March 29, 2015

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